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 1
 2 PHILLIP A. TALBERT
   United States Attorney
 3 SHELLEY D. WEGER
   Assistant United States Attorney
 4 501 I Street, Suite 10-100
   Sacramento, CA 95814
 5 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 6
   Attorneys for Plaintiff
 7 United States of America
 8
 9                               IN THE UNITED STATES DISTRICT COURT

10                                  EASTERN DISTRICT OF CALIFORNIA

11
     UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00010 MCE
12
                                  Plaintiff,             STIPULATION AND ORDER TO CONTINUE
13                                                       STATUS CONFERENCE, AND TO EXCLUDE
                            v.                           TIME UNDER SPEEDY TRIAL ACT
14
     DENNA CHAMBERS AND                                  DATE: May 11, 2017
15   STARSHEKA MIXON,                                    TIME: 9:00 a.m.
                                                         COURT: Hon. Morrison C. England, Jr.
16                                Defendants.

17
18                                               STIPULATION

19         1.       By previous order, this matter was set for status on May 11, 2017.

20         2.       By this stipulation, defendants now move to continue the status conference until July 6,

21 2017, and to exclude time between May 11, 2017, and July 6, 2017, under Local Code T4.
22         3.       The parties agree and stipulate, and request that the Court find the following:

23                  a)     The government has produced over 25,000 pages of discovery associated with this

24         case, including tax returns, bank and credit card statements, investigative reports, and other

25         documents. The government has also made electronic devices and physical evidence available

26         for review.

27                  b)     Counsel for Defendant Denna Chambers had an unexpected medical surgery on

28         May 5, 2017. Consequently, counsel for defendant Chambers will be on extended medical leave


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 1        and therefore, the United States Federal Defender’s Office will need to assign substitute counsel

 2        during his absence. Accordingly, additional time is needed for the United States Federal

 3        Defender’s Office to assign a substitute assistant federal defender to handle this matter, and for

 4        that substitute counsel to review the evidence, and to meet and consult with defendant Chambers.

 5                c)      Counsel for defendants believe that failure to grant the above-requested

 6        continuance would deny counsel the reasonable time necessary for effective preparation, taking

 7        into account the exercise of due diligence.

 8                d)      The government does not object to the continuance.

 9                e)      Based on the above-stated findings, the ends of justice served by continuing the

10        case as requested outweigh the interest of the public and the defendant in a trial within the

11        original date prescribed by the Speedy Trial Act.

12                f)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

13        et seq., within which trial must commence, the time period of May 11, 2017, to July 6, 2017,

14        inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv), Local Code T4,

15        because it results from a continuance granted by the Court at defendants’ request on the basis of

16        the Court’s finding that the ends of justice served by taking such action outweigh the best interest

17        of the public and the defendant in a speedy trial.

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 1          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

 2 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
 3 must commence.
 4          IT IS SO STIPULATED.

 5
     Dated: May 8, 2017                               PHILLIP A. TALBERT
 6                                                    United States Attorney
 7
                                                      /s/ Shelley D. Weger
 8                                                    SHELLEY D. WEGER
                                                      Assistant United States Attorney
 9

10 Dated: May 8, 2017                                  /s/ Kelly Babineau
                                                       KELLY BABINEAU
11
                                                       Counsel for Defendant
12                                                     Starsheka Mixon

13
     Dated: May 8, 2017                               /s/ Linda C. Allison for Matthew Bockmon
14                                                    MATTHEW BOCKMON
                                                      Counsel for Defendant
15                                                    Denna Chambers
16
17
                                                       ORDER
18
            IT IS SO ORDERED.
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     Dated: May 9, 2017
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      STIPULATION RE: SPEEDY TRIAL ACT; ORDER              3
